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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF INDIANA
                              SOUTH BEND DIVISION


DAIMEON MOSLEY,

                              Plaintiff,
               V.                                Case No. 3:17-cv-00924-JD-MGG

KOHL'S DEPARTMENT STORES, INC.,

                              Defendant.



                                 NOTICE OF SETTLEMENT

       Plaintiff, Daimeon Mosley, and Defendant, Kohl's Department Stores, Inc., pursuant to

Northern District of Indiana Local Rule 16-1(g), hereby give notice that they have reached an

agreement in principal to settle this case and are currently working to finalize the terms of the

settlement agreement.

 Dated: February 13, 2018                         Respectfully submitted,

                                                  Is! Jason S. Weiss
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                               CERTIFICATE OF SERVICE

       The undersigned, an attorney, certifies that the foregoing document was filed and served
on February 13, 2018 via the Court's CM/ECF system, which will send notice of the filing to all
counsel of record.


                                                   /s/Jason S. Weiss
